Case 10-93904-BHL-11             Doc 1388 Filed 08/31/12 EOD 08/31/12 16:25:37                            Pg 1 of 13
                                 SO ORDERED: August 31, 2012.




                                 ______________________________
                                 Basil H. Lorch III
                                 United States Bankruptcy Judge




                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF INDIANA
                                      NEW ALBANY DIVISION

 IN RE:                                                )
                                                       )
 EASTERN LIVESTOCK CO., LLC                            )    CASE NO. 10-93904-BHL-11
                                                       )
                             Debtor.                   )

                     ORDER DENYING MOTIONS TO REMOVE TRUSTEE


          This matter is before the Court on (1) the Motion of The First Bank and Trust Company

 to Remove Trustee Pursuant to 11 U.S.C. § 324 [Doc. 1239] (the "First Bank Motion") and (2)

 the Motion to Remove Trustee Pursuant to 11 U.S.C. § 324 [Doc. 1237] (the "Motion of

 Bluegrass, et al."). 1 The First Bank Motion and the Motion of Bluegrass, et al. will be referred to


 1
   Also before the Court is the "Motion of the Kentucky Cattlemen's Association to Remove the Trustee Pursuant to
 11 U.S.C. § 324 and to Terminate Employment of the Trustee's Lead Counsel" [Doc. 1324] (the "KCA Motion").
 The KCA Motion was filed by the Kentucky Cattlemen's Association ("KCA"). From the face of the KCA Motion
 and based upon the comments made by KCA's counsel in open court on August 20, 2012 it is clear that KCA is not a
 creditor or a party in interest in this chapter 11 case and that its counsel has not been authorized to represent any
 creditor in this case. The Court determines that KCA has no standing to file the KCA Motion. See 11 U.S.C. §
 1109; In re the Matter of James Wilson Associates, 965 F2d 160 (7th Cir. 1992). In addition, the KCA Motion
 raises no legal or factual issue in addition to issues raised by the Motions to Remove the Trustee and therefore the
Case 10-93904-BHL-11           Doc 1388       Filed 08/31/12       EOD 08/31/12 16:25:37            Pg 2 of 13




 hereafter as the "Motions to Remove the Trustee." The parties filed a variety of objections and

 replies with regard to the Motions to Remove the Trustee. After appropriate notice, the Court

 held a hearing on the Motions to Remove the Trustee on August 20, 2012 (the "Hearing"),

 wherein the movants presented evidence and argument on the matters discussed in this Order and

 stipulated to the admission of deposition testimony and associated exhibits. On the facts and the

 law as found and concluded herein, the Court now DENIES the Motions to Remove the Trustee,

 subject to the adjustment of fees for which the chapter 11 trustee, James A. Knauer (the

 “Trustee”), may apply in the future. The Court makes the following findings of fact and

 conclusions of law in support of its Order.

                                              Findings of Fact

         A.      Eastern Livestock Co., LLC ("ELC" or "Debtor") was for many years until

 November of 2010 engaged in cattle transactions. ELC's principal owner, Thomas P. Gibson,

 and another employee of ELC were indicted by a federal grand jury and charged with mail fraud;

 they remain under indictment in the United States District Court for the Western District of

 Kentucky.     Further, Mr. Gibson and others pled guilty to and were convicted of criminal

 syndication and many dozen counts of theft in the Metcalfe (Ky.) Circuit Court in connection

 with the check kiting scheme and other wrongful actions they caused ELC to commit.

         B.      Prior to ELC's demise, ELC's principal lender was Fifth Third Bank ("Fifth

 Third"). Fifth Third extended credit to ELC by way of a secured revolving line of credit

 ("Loan"). The Loan was and is evidenced by and secured pursuant to a promissory note, security

 agreement and certain other loan documents (the "Loan Documents"). The Loan was secured by

 ELC's grant to Fifth Third of security interests in ELC's inventory, accounts receivable and


 KCA Motion would have been denied by the Court were the KCA Motion presented by a party in interest with
 standing in this case.

                                                       2
Case 10-93904-BHL-11       Doc 1388      Filed 08/31/12    EOD 08/31/12 16:25:37        Pg 3 of 13




 generally all of ELC's assets ("Collateral"). Under the Loan Documents and as part of the Loan,

 Fifth Third had extended to ELC the maximum principal credit of $32.5 million as of the

 cessation of ELC's normal business operations in early November 2010.

        C.     On February 9, 2005, Fifth Third and Wells Fargo Business Credit, Inc.

 ("WFBC") entered into the Participation Agreement By and Between Wells Fargo Business

 Credit, Inc. and Fifth Third dated as of February 9, 2005 (the "Participation Agreement"). This

 Court has reviewed the Participation Agreement. Under the Participation Agreement, WFBC

 purchased from Fifth Third an "undivided fractional and continuing participation interest (the

 'Participation') equal to…" a certain dollar amount.      That dollar amount is calculated by

 multiplying 30.76923% times the "Participated Credit Amount." The dollar amount of the

 Participation was capped at $10 million. The Court understands that, as of the petition date, the

 Participated Credit Amount was $32.5 million dollars; therefore, the amount of the Participation

 was, on that date, $10 million. In the Participation Agreement, Fifth Third is denominated as the

 "Lead" and WFBC is denominated as the "Participant." Fifth Third solely holds the Loan and, as

 the Lead, retains the exclusive right to decide how to service, administer and manage the Loan

 and is authorized to use its sole discretion in exercising or failing to exercise any right or in

 taking any action to enforce rights or remedies under the Loan Documents. Fifth Third, as the

 Lead, is empowered to take all actions it deems necessary to collect any obligations of ELC, as

 borrower, including foreclosing against the Collateral. The Participation Agreement does not

 include any assignment from Fifth Third to WFBC, as Participant, of any interest in any of the

 Loan Documents or the Collateral. Fifth Third, as Lead, is not obligated to segregate any funds

 collected from ELC or to hold any such collections in trust for the Participant. Instead, the

 Participation Agreement creates a contractual obligation by Fifth Third, as Lead, to pay to the



                                                3
Case 10-93904-BHL-11                Doc 1388        Filed 08/31/12   EOD 08/31/12 16:25:37    Pg 4 of 13




 Participant dollar amounts calculated by multiplying the Participation percentage by the amount

 of money collected by Fifth Third from ELC or realized by Fifth Third from the Collateral. The

 Participant has no right to assert any claim against ELC or enforce any lien rights in or against

 any assets of ELC that serve as the Collateral. The Participation Agreement expressly provides

 that,

                             The Participant will have no standing with respect to the
                     Participation in any proceeding involving Borrower [ELC] under the
                     United States Bankruptcy Code, any state insolvency laws or which
                     otherwise involve the Borrower, and no claim, dispute, accounting or
                     other issue pertaining to the Participant's relationship with the Lead
                     under this Agreement shall be heard or disposed of in any such
                     proceeding relating to the Borrower.

            D.       This chapter 11 case ("Chapter 11 Case") was commenced some twenty months

 ago by the filing of an involuntary petition under § 303 2 against ELC on December 6, 2010.

 Prior to the filing, Mr. Gibson and all other officers of ELC had resigned, and ELC was

 controlled by a receiver appointed by an Ohio Court in an action commenced by Fifth Third. On

 December 7, 2010, certain petitioning creditors filed an Emergency Motion to Appoint Trustee

 and Authorizing and Directing a Trustee to Operate Business [Doc. 27]. On December 16, 2010

 the Court granted that motion and directed the United States Trustee for Region 10 ("UST") to

 appoint a trustee in the Chapter 11 Case pursuant to § 1104 [Doc. 77]. On December 23, 2010,

 the UST filed its Notice of Submission of Notice of Appointment and Application for Order

 Approving Appointment of Trustee [Doc. 98] ("UST Application").

            E.       Mr. Knauer was then and is now a lawyer and partner in the Indianapolis firm of

 Kroger, Gardis & Regas LLP ("KGR"). The UST and the Court were then and are now familiar

 with Mr. Knauer and know him to be an experienced practitioner in bankruptcy, commercial law,



 2
     All statutory citations herein are to the Bankruptcy Code.


                                                              4
Case 10-93904-BHL-11             Doc 1388         Filed 08/31/12        EOD 08/31/12 16:25:37              Pg 5 of 13




 creditors rights, and financial reorganization who has served in the past as a court-appointed

 receiver, a trustee, and an examiner 3 in this Court and in other courts.

          F.       As part of the UST Application, Mr. Knauer submitted his Affidavit of

 Disinterestedness ("Knauer Affidavit") pursuant to Fed. R. Bankr. P. 2007.1(c). In the Knauer

 Affidavit, Mr. Knauer disclosed that KGR then represented Fifth Third in five open matters,

 three of which had been opened during the preceding twelve months, but that none of those

 representations related to either ELC or the Chapter 11 Case.

          G.       Mr. Knauer testified that he obtained from Fifth Third a consent and conflict

 waiver (the "Fifth Third Conflict Waiver") authorizing him to serve as Trustee notwithstanding

 the past, existing, and potential future KGR representations of Fifth Third. Under that Fifth

 Third Conflict Waiver, Mr. Knauer, as the Trustee, is free to be adverse to Fifth Third and to

 commence any action he deems advisable against Fifth Third.

          H.       On December 27, 2010, the Court entered its Order Approving the Appointment

 of James A. Knauer as Chapter 11 Trustee (the “Appointment Order”) [Doc. 102].

          I.       On or around December 27, 2010, the Trustee became aware that WFBC or its

 assignee was the Participant in the Loan under the Participation Agreement. The Trustee was

 advised that the Participant was then WFBC or another affiliate of Wells Fargo & Company

 (hereafter "Wells Participant"). 4 The Trustee and KGR were then representing, as local counsel


 3
   This Court appointed Mr. Knauer as an examiner under § 1104 in In re Onestar Long Distance, Inc., Case No. 03-
 72697-BHL.
 4
   The Participation Agreement identifies WFBC as the owner of the Participation. There are dozens, if not
 hundreds, of subsidiaries and affiliates of Wells Fargo & Company. The term "Wells Fargo" is not used precisely in
 the Wells Conflict Waiver, which does not distinguish among Wells Fargo entities. The evidence showed that it was
 Wells Fargo’s policy to require such ambiguity in conflict waivers executed for the benefit of its outside counsel. At
 some point, WFBC was either merged into another Wells Fargo entity or the participation was assigned or sold to
 another Wells Fargo affiliate. Because it is not relevant to this Court's reasons for denying the relief sought by the
 Objectors, the Court will simply refer to the Participant as the Wells Participant.


                                                           5
Case 10-93904-BHL-11           Doc 1388       Filed 08/31/12       EOD 08/31/12 16:25:37            Pg 6 of 13




 for the Sidley Austin LLP law firm, Wells Fargo Bank NA ("Wells Fargo Bank") in chapter 11

 cases that were then pending in this Court, and jointly administered under the caption In re Lauth

 Investment Properties, LLC, Case No. 09-06065-BHL-11, and in related litigation (the "Lauth

 Cases"). The Court will refer to KGR’s engagement in the Lauth Cases as the “KGR/Wells

 Representation.” Other than the Lauth Cases, KGR has not represented any Wells Fargo affiliate

 during the past 3 years 5. According to an affidavit filed by the Trustee [Doc. 1330], in 2010,

 KGR generated fee revenue from the KGR/Wells Representation that constituted less than 1.5%

 of KGR's revenues, while in 2011 the KGR/Wells Representation generated less than 1% of

 KGR's fee revenues. KGR has never represented WFBC and, because the identity of the current

 Wells Participant is uncertain, the Trustee does not know whether KGR has ever represented the

 Wells Participant.      However, the Trustee sought and received from one of Wells Fargo's

 designated "conflicts counsel" a consent and conflict waiver (the "Wells Conflict Waiver")

 which authorized the Trustee to continue to serve as the Trustee in the Chapter 11 Case and, to

 the extent that he later decided to do so, to become directly adverse to and commence litigation

 against Fifth Third and/or the Wells Participant. Mr. Knauer testified at his deposition that he

 sought the waiver from Wells Fargo to "avoid the possibility that Wells Fargo might assert there

 was a conflict when in fact I did not believe that one existed."

         J.      On April 19, 2011, this Court approved a "Global Settlement" between Wells

 Fargo Bank and the debtors and affiliated principals in the Lauth Cases. On June 30, 2011, the

 Court entered in the Lauth Cases an order dismissing the matters upon the closing of the Global

 Settlement. The proceedings and actions between Wells Fargo Bank and the Lauth Debtors and


 5
    Mr. Knauer explained in his supplemental affidavit filed on August 13, 2012 [Doc. 1330] that KGR has been
 engaged by certain "special servicers" to represent certain lender trusts for which Wells Fargo Bank serves as
 trustee. However, KGR has no interaction with Wells Fargo Bank and Wells Fargo Bank is not KGR's client in
 those engagements.

                                                       6
Case 10-93904-BHL-11        Doc 1388     Filed 08/31/12     EOD 08/31/12 16:25:37        Pg 7 of 13




 principals constituting the Lauth Cases were duly dismissed as a result of that Global Settlement.

 Thereafter, the KGR/Wells Representation ended. At that point, Wells Fargo Bank became a

 "former client" of KGR for purposes of the application of conflict rules under the Indiana Rules

 of Professional Conduct. See Rule 1.9 of the Indiana Rules of Professional Conduct.

           K.   On or about December 27, 2010, the Trustee advised the UST that the Wells

 Participant was a $10 million participant in the Loan; and that KGR was then representing Wells

 Fargo Bank in the Lauth Cases. The Trustee advised the UST that he had obtained the Wells

 Conflict Waiver and that he did not intend to make any additional disclosure regarding the

 KGR/Wells Representation under Bankruptcy Rule 2007.1(c) because he had concluded that the

 Wells Participant was not a party in interest or creditor in the Chapter 11 Case. The UST was

 represented by counsel at the Hearing and did not refute Mr. Knauer's testimony concerning this

 matter.

           L.   On February 4, 2011, Fifth Third filed its proof of claim [Claim No. 13] (the

 "Fifth Third POC") asserting a claim, as the sole and exclusive holder of the claim, with respect

 to the Loan and the Loan Documents. The Fifth Third POC does not purport to assert any claim

 on behalf of the Wells Participant in any agency or other representative capacity. The firm of

 Vorys, Sater, Seymour and Pease LLP has appeared for Fifth Third and has been continuously

 active in the Chapter 11 Case, representing Fifth Third as the sole holder of the claims asserted

 based on the Loan.

           M.   Two minute entries on December 7 and 13, 2010 [Docs. 28 and 68], reflect the

 telephonic attendance of a lawyer for Wells Fargo Capital, in two public hearings that took place

 early in the Chapter 11 Case before the Trustee was appointed. No lawyer has filed a formal

 appearance in the Chapter 11 Case on behalf of the Wells Participant or any Wells Fargo entity.



                                                 7
Case 10-93904-BHL-11        Doc 1388      Filed 08/31/12    EOD 08/31/12 16:25:37        Pg 8 of 13




 The Wells Participant has not filed a proof of claim and the Wells Participant has not sought to

 raise or be heard on any matter in the Chapter 11 Case.

           N.   The First Bank Motion was filed by The First Bank and Trust Company ("First

 Bank"). First Bank did not make any loan to or otherwise do business with ELC. First Bank has

 filed two proofs of claim in the Chapter 11 Case asserting two secured claims. The Trustee has

 taken the position that First Bank is not a secured creditor of ELC, and, in fact, the Trustee

 contends that First Bank is not a creditor of ELC at all

           O.   Bluegrass Stockyards and a variety of related entities (who are referred to as the

 "Bluegrass Entities") are some of the movants that filed the Motion of Bluegrass et al.. The

 Bluegrass Entities are defendants in a pending adversary proceeding commenced by the Trustee

 seeking to avoid and recover from the Bluegrass Entities alleged fraudulent preferential transfers

 under §§ 547, 548 and 550 (the "Bluegrass Avoidance Action"). The Trustee contends that

 proofs of claims filed by the Bluegrass Entities (the "Bluegrass POCs") that assert unsecured

 claims in the Chapter 11 Case cannot be allowed because of the effect of § 502(d) of the

 Bankruptcy Code. The Bluegrass Entities contest the Trustee's claims described in the Bluegrass

 Avoidance Action but they have not argued with the principle that if the Trustee is successful

 with respect to the Bluegrass Avoidance Action, then the Bluegrass POCs will not be allowable

 unless and until the Bluegrass Entities disgorge the amounts adjudged to be owing to the ELC

 estate.

           P.   The Trustee has been serving in this Chapter 11 Case for more than nineteen

 months since his appointment and has commenced over nineteen adversary proceedings by

 which he is seeking to recover millions of dollars on behalf of the ELC estate. The Trustee is




                                                  8
Case 10-93904-BHL-11         Doc 1388       Filed 08/31/12       EOD 08/31/12 16:25:37         Pg 9 of 13




 now holding significant funds, constituting millions of dollars, as to which the rights of various

 parties are yet to be determined.

                                          Conclusions of Law

                Incorporating the foregoing findings of fact as if fully restated herein, the Court

 issues the following conclusions of law.

        1.      The Motions to Remove the Trustee generally assert as alleged bases for removal

 of the Trustee that (i) the Trustee was required by Bankruptcy Rule 2007.1(c) to disclose the

 KGR/Wells Representation and the Trustee failed to do so (the "Non-Disclosure Basis"); (ii) the

 Trustee is not disinterested because of the KGR/Wells Representation (the "Lack of

 Disinterestedness Basis"); and (iii) the Trustee has done something wrong or has wrongly

 engendered animosity or "discord" among creditors of ELC which will interfere with the

 appropriate resolution of the Chapter 11 Case (the "Discord Basis").

        2.      Fed. R. Bankr. P. 2007.1(c) establishes the disclosure requirements with regard to

 the appointment of a chapter 11 trustee. That rule provides:

                The application shall state the name of the person appointed and, to the
                best of the applicant's knowledge all person's connections with the
                debtor, creditors and other parties in interest, their respective attorneys
                and accountants, the United States Trustee, or persons employed in the
                office of the United States Trustee…. The application shall be
                accompanied by a verified statement of the person appointed setting forth
                the person's connections with the debtor, creditors, any other party in
                interest, their respective attorneys, accountants, the United States Trustee
                or any persons employed in the office of the United States Trustee

 (emphasis added).

        3.      Convincing precedents, including case law from the Seventh Circuit, suggest that

 a secondary participant in a loan like the Loan, where the rights of the secondary participant are

 entirely derivative of the right of the lead participant, is neither a creditor nor a party in interest

 in a bankruptcy case. See, e.g., In re Auto Style Plastics, Inc., 269 F.3d 726 (6th Cir. 2001); In re

                                                     9
Case 10-93904-BHL-11           Doc 1388       Filed 08/31/12        EOD 08/31/12 16:25:37          Pg 10 of 13




  James Wilson Assocs., 965 F.2d 160 (7th Cir. 1992); First Nat’l Bank of Louisville v. Cont’l Ill.

  Nat’l Bank & Trust Co. of Chicago, 933 F.2d 466 (7th Cir. 1991); In re Okura & Co. (America),

  Inc., 249 B.R. 596 (Bankr. S.D.N.Y. 2000).

          4.      However, given (i) the advanced procedural posture of this Chapter 11 Case, (ii)

  the unique circumstance of the subsumption of Wells Fargo’s interest in the Loan by Fifth

  Third’s, (iii) the timely and adequate disclosure of KGR’s relationship with Fifth Third, and (iv)

  the determination the Court made in the Appointment Order that Mr. Knauer is qualified to serve

  as Trustee despite KGR’s relationship with Fifth Third, it is unnecessary for the Court to

  determine whether Mr. Knauer was required to disclose the KGR/Wells Representations and the

  Wells Conflict Waiver when he was initially considered as a candidate for trustee. Having

  considered the precedents interpreting Fed. R. Bankr. P. 2007.1, the Court concludes that the

  question is not explicitly controlled by binding precedent and sees no imperative to attempt to

  establish a bright-line rule at this juncture.

          5.      Even if there was a violation of Fed. R. Bankr. P. 2007.1 by the Trustee, the

  requested relief is not warranted on the record in this case.                In these circumstances, the

  representation by KGR of Fifth Third, the Debtor's sole lender, was disclosed. The Trustee

  could not bring any action against the Participant that would not as a threshold matter have to be

  brought first against Fifth Third.

          6.      The Trustee is a disinterested person. The term "disinterested person" is defined

  as one who

                  (A) is not a creditor, an equity holder, or an insider; (B) is not and was
                  not within 2 years before the date of the filing of the petition, a director,
                  officer, or employee of the debtor; and (C) does not have an interest
                  materially adverse to the interests of the estate or of any class of creditors
                  or equity security holders, by reason of any direct or indirect relationship
                  to, connection with or interest in the debtor or for any other reason.


                                                       10
Case 10-93904-BHL-11               Doc 1388        Filed 08/31/12          EOD 08/31/12 16:25:37               Pg 11 of 13




  § 101(14). The Trustee meets the definition of disinterestedness in this Chapter 11 Case. The

  Trustee has no connection with ELC and holds no interest adverse to the estate or to any class of

  creditors or security holders.

           7.       Movants have argued that language in the Wells Conflict Waiver that requires

  KGR to continue to honor its obligations under the Rules of Professional Conduct would prohibit

  the Trustee from commencing and prosecuting an action against the Wells Participant under §

  550. The Court does not find any such prohibition in the Wells Conflict Waiver. Moreover,

  even if any such prohibition did exist, because Wells Fargo Bank is now a "former client" of

  KGR (following the termination of KGR's representation of Wells Fargo Bank in the Lauth

  Cases after the Global Settlement) the Trustee may sue or otherwise become adverse to the Wells

  Participant without relying on the Wells Conflict Waiver. KGR (and therefore the Trustee) now

  would only need to satisfy the test set forth in Rule 1.9 of the Rules of Professional Conduct to

  represent a client in an action against the Wells Participant (as an affiliate of Wells Fargo

  Bank) 6. Because any action against the Wells Fargo Participant, whether under § 550 or based

  on some other theory, would have no relationship to the Wells/KGR Representation, the Trustee

  (and KGR) would be free to assert such an action without regard to any limitations or

  prohibitions in the Wells Conflict Waiver.

           8.       The Trustee fully disclosed the connections of KGR to Fifth Third. By virtue of

  the Fifth Third Conflict Waiver, Wells Conflict Waiver, and the fact that Wells Fargo Bank is

  now a "former client" of KGR the Trustee has been able to and may now commence any action

  available to the ELC estate against Fifth Third or the Wells Participant. If the Trustee concludes

  6
    It is not at all clear that the conflict restrictions of the Rules of Professional Conduct would apply to an action that
  the Trustee would commence as a plaintiff or other party against the Wells Participant, as contrasted with an action
  in which the Trustee would act as counsel representing a party adverse to the Wells Participant. The conflict
  restrictions in the Rules of Professional Conduct only speak to the limitations on attorneys acting as counsel not to
  an attorney who happens to be a party in litigation.

                                                             11
Case 10-93904-BHL-11              Doc 1388        Filed 08/31/12         EOD 08/31/12 16:25:37              Pg 12 of 13




  that it is in the best interests of the ELC estate to commence an action against Fifth Third, take

  other adverse action with respect to Fifth Third, or seek to avoid the Fifth Third POC, the

  Trustee may do so. Therefore, the Lack of Disinterestedness Basis is not a valid basis to grant

  the Motions to Remove the Trustee.

           9.       First Bank cites In re Hub Business Forms Inc., 146 B.R. 315 (Bankr. D. Mass.

  1992) for the proposition that a lawyer's representation of a participant in a loan to a debtor may

  form a basis to determine that the lawyer is not disinterested. That case does not support that

  proposition.      Instead, the objection to the lawyer's employment and the basis for his

  disqualification in the Hub Business Forms case was that the lawyer served as a trustee on the

  debtor's board of trustees. Id. at 322.

           10.      The Court has not witnessed any conduct by the Trustee, or his professionals, that

  was egregious or wrongful so as to support the asserted Discord Basis as a valid basis to grant

  the Motions to Remove the Trustee. It is unclear what has engendered "discord" or animosity

  between the Trustee and movants or other "creditors" (that is asserted by the movants to exist).

  It may well be that any "discord" is the result of the litigation and adversity between the Trustee

  and movants and other persons against whom the Trustee has asserted avoidance or other

  actions. 7 The Discord Basis is not a valid basis to grant the Motions to Remove the Trustee.

           11.      The Trustee has filed a proposed chapter 11 plan and disclosure statement. The

  disclosure statement is scheduled to be heard by the Court on September 7, 2012. In his

  proposed disclosure statement, the Trustee projects that under the proposed plan unsecured

  creditors who "opt in" and release their claims against Fifth Third could receive a distribution of


  7
     The Court notes that no official committee of unsecured creditors was appointed in this Chapter 11 Case. The
  Movants, along with other parties the Trustee is litigating with have at times attempted to assume that mantle. The
  problem with this is that their interests are not aligned in significant part with the interests of general unsecured
  creditors in this case.

                                                           12
Case 10-93904-BHL-11         Doc 1388     Filed 08/31/12     EOD 08/31/12 16:25:37            Pg 13 of 13




  $0.40 on the dollar or more. The Court believes that unsecured creditors in this case may have a

  keen interest in receiving a substantial payment on account of their claims in as prompt a fashion

  as is feasible. The Court believes that granting the Motions to Remove the Trustee would delay

  by many months the opportunity for creditors to consider and vote on a Chapter 11 plan of the

  kind proposed by the Trustee. The delay involved in removal of the Trustee and securing his

  replacement would be severely prejudicial to the interests of creditors in this Chapter 11 Case.

                                       Conclusion and Order

          The Court has balanced the interests of creditors in this case with respect to both (i) the

  removal of the Trustee and (ii) the continued service of the Trustee. The Court concludes that

  balance is clearly in favor of continuation of the service of the Trustee and that no significant

  harm will result from the continuance of the Trustee's service in this Chapter 11 Case.

  Removing the Trustee would significantly delay the resolution of this case, entail massive

  administrative expenses and impair the ability of the Trustee to bring and prosecute recovery

  actions. Ultimately, the relief requested would significantly impair creditor recoveries.

          Nevertheless, the Court is convinced that the estate should not bear the burden of the

  Trustee’s deliberations over his disclosure obligations or his efforts to defend himself in the

  disputes addressed in this Order. Accordingly, in his next fee application, the Trustee shall (i)

  seek no compensation for such matters, and (ii) shall deduct the amount equal to the

  compensation the Court has already approved for such matters from the fees he would otherwise

  be eligible to receive.

                                                 ###




                                                  13
